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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


  HAMPTON DELLINGER,

                                  Plaintiff,

  v.                                                        Civil Action No. 1:25-cv-00385-ABJ

  SCOTT BESSENT, et al.,


                                  Defendants.




                             DEFENDANTS’ NOTICE OF APPEAL

           PLEASE TAKE NOTICE that Defendants hereby appeal to the United States Court of

Appeals for the District of Columbia Circuit from this Court’s Administrative Stay, entered in a Minute

Order dated February 10, 2025.

           Defendants intend to request a stay of this Court’s Order pending appeal, including an

immediate administrative stay, from the United States Court of Appeals for the District of Columbia

Circuit.


Dated: February 10, 2025                                 Respectfully submitted,

                                                         BRETT A. SHUMATE
                                                         Acting Assistant Attorney General

                                                         CHRISTOPHER R. HALL
                                                         Assistant Branch Director

                                                         /s/ Madeline M. McMahon
                                                         MADELINE M. MCMAHON
                                                         (DC Bar No. 1720813)
                                                         Trial Attorney
                                                         U.S. Department of Justice
                                                         Civil Division, Federal Programs Branch

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                                   1100 L Street, NW
                                   Washington, DC 20530
                                   Telephone: (202) 451-7722
                                   Email: madeline.m.mcmahon@usdoj.gov

                                   Counsel for Defendants




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